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     ROSENBERG, KIRBY, CAHILL AND STANKOWITZ
     Attorneys at Law
     29 Main Street
     Toms River, New Jersey 08753
     (732) 341-3337
     Attorneys for Plaintiffs

     GEORGE E. ENGLE and MARION                       UNITED STATES DISTRICT COURT
     ENGLE, married,                                  DISTRICT OF NEW JERSEY
                                                      CIVIL ACTION NUMBER:
                           Plaintiffs,

     v.                                                      CIVIL ACTION


                                                             COMPLAINT
     MAGDI H. IBRAHIM; MAG & H AUTO
     SALES; JENNIFER A. SIMPSON; JOANN
     COSTANZO; RAUL PEREA-HENZE;
     KEITH GORDON; UNITED STATES
     DEPARTMENT OF HEALTH AND
     HUMAN SERVICES; UNTIED STATES
     OF AMERICA; JANE DOE (1-10), a
     fictitious name for unknown defendants;
     ABC COMPANY (1-10), a (fictitious
     names, true names unknown at this time) a
     business entity authorized to do business in
     the State of New Jersey.

                           Defendants.


            Plaintiffs, GEORGE ENGLE and MARION ENGLE, married, residing in the Township of

     Toms River, County of Ocean and State of New Jersey, through their attorneys, by way of

     Complaint against the defendants, say:

                                              FIRST COUNT

            1.     On or about January 22, 2008, plaintiff GEORGE ENGLE was operating a motor

                   vehicle which was lawfully traveling on New Jersey Turnpike, in the City of

                   Newark, County of Essex and State of New Jersey.
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            2.      At the aforesaid time and place, the defendants, MAGDI H. IBRAHIM was operating

                    a motor vehicle traveling New Jersey Turnpike, in the City of Newark, County of

                    Essex and State of New Jersey

            3.      At the aforesaid time and place, the defendant, MAGDIH IBRAHIM did operate said

                    motor vehicle in such a careless and negligent manner so as to cause a collision

                    involving the motor vehicle operated by plaintiff GEORGE ENGLE.

            4.      As a result of the carelessness and negligence of the defendant, plaintiff GEORGE

                    ENGLE, was caused to sustain severe injuries, both temporary and permanent in

                    nature, together with great pain and suffering as well as serious economic loss, and

                    was prevented from transacting lawful business and affairs and had to expend sums

                    for medical expenses, all of which are expected to continue into the future.

            WHEREFORE, Plaintiffs demand judgment against the Defendant for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                             SECOND COUNT

            1.      Plaintiff repeats each and every allegation of the First Count as if set forth at length

                    herein.

            2.      At the time and place aforesaid, defendants MAG & H AUTO SALES; JOHN DOE

                    (1-5) (fictitious names, true names unknown at this time); ABC COMPANY (1-5)

                    (fictitious names, true names unknown at this time) were responsible for the

                    ownership, maintenance service, repair and/or inspection of the vehicle operated by

                    defendant MAGDI H. IBRAHIM.

            3.      At all times relevant hereto, defendants, MAG & H AUTO SALES; JOHN DOE (1-

                    5) (fictitious names, true names unknown at this time); ABC COMPANY (1-5)
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                    (fictitious names, true names unknown at this time) so carelessly and negligently

                    owned, maintained, serviced, repaired and/or inspected the vehicle operated by

                    defendant MAGDI H. IBRAHIM as to cause or allow the accident to happen.

            WHEREFORE, Plaintiffs demand judgment against the Defendants for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                              THIRD COUNT

            1.      Plaintiff repeats each and every allegation of the First and Second Counts as if set

                    forth at length herein.

            2.      At the time and place aforesaid, defendant MAGDI H. IBRAHIM was acting as the

                    agent and/or servant and/or employee and/or lessee and/or otherwise on behalf of

                    defendant(s) MAG & H AUTO SALES; JOHN DOE (6-10) (fictitious names, true

                    names unknown at this time); ABC COMPANY (6-10) (fictitious names, true names

                    unknown at this time); and therefore, defendants MAG & H AUTO SALES; JOHN

                    DOE (6-10) (fictitious names, true names unknown at this time); ABC COMPANY

                    (6-10) (fictitious names, true names unknown at this time) are responsible for the

                    negligence of defendant MAGDI H. IBRAHIM.

            WHEREFORE, Plaintiffs demand judgment against the Defendants for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                              FOURTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Third Counts as if set

                    forth at length herein.

            2.      At the aforesaid time and place, the defendant, JENNIFER A. SIMPSON; was

                    operating a motor vehicle traveling New Jersey Turnpike, in the City of Newark,
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                    County of Essex and State of New Jersey

            3.      At the aforesaid time and place, the defendant, JENNIFER A. SIMPSON, did operate

                    said motor vehicle in such a careless and negligent manner so as to cause a collision

                    involving the motor vehicle operated by plaintiff GEORGE ENGLE.

            4.      As a result of the carelessness and negligence of the defendant, plaintiff GEORGE

                    ENGLE, was caused to sustain severe injuries, both temporary and permanent in

                    nature, together with great pain and suffering as well as serious economic loss, and

                    was prevented from transacting lawful business and affairs and had to expend sums

                    for medical expenses, all of which are expected to continue into the future.

            WHEREFORE, Plaintiffs demand judgment against the Defendant for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                              FIFTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Fourth Counts as if set

                    forth at length herein.

            2.      At the time and place aforesaid, defendants THOMAS E. SIMPSON; JOHN DOE

                    (1-5) (fictitious names, true names unknown at this time); ABC COMPANY (1-5)

                    (fictitious names, true names unknown at this time) were responsible for the

                    ownership, maintenance service, repair and/or inspection of the vehicle operated by

                    defendant JENNIFER A. SIMPSON.

            3.      At all times relevant hereto, defendants, THOMAS E. SIMPSON; JOHN DOE (1-5)

                    (fictitious names, true names unknown at this time); ABC COMPANY (1-5)

                    (fictitious names, true names unknown at this time) so carelessly and negligently

                    owned, maintained, serviced, repaired and/or inspected the vehicle operated by
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                    defendant JENNIFER A. SIMPSON. as to cause or allow the accident to happen.

            WHEREFORE, Plaintiffs demand judgment against the Defendants for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.



                                              SIXTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Fifth Counts as if set

                    forth at length herein.

            2.      At the time and place aforesaid, defendant JENNIFER A. SIMPSON was acting as

                    the agent and/or servant and/or employee and/or lessee and/or otherwise on behalf

                    of defendant(s) THOMAS E. SIMPSON; JOHN DOE (6-10) (fictitious names, true

                    names unknown at this time); ABC COMPANY (6-10) (fictitious names, true names

                    unknown at this time); and therefore, defendants THOMAS E. SIMPSON; JOHN

                    DOE (6-10) (fictitious names, true names unknown at this time); ABC COMPANY

                    (6-10) (fictitious names, true names unknown at this time) are responsible for the

                    negligence of defendant JENNIFER A. SIMPSON.

            WHEREFORE, Plaintiffs demand judgment against the Defendants for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                              SEVENTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Sixth Counts as if set

                    forth at length herein

            2.      At the aforesaid time and place, the defendants, JOANN COSTANZO; was

                    operating a motor vehicle traveling New Jersey Turnpike, in the City of Newark,

                    County of Essex and State of New Jersey
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            3.      At the aforesaid time and place, the defendant, JOANN COSTANZO, did operate

                    said motor vehicle in such a careless and negligent manner so as to cause a collision

                    involving the motor vehicle operated by plaintiff GEORGE ENGLE.

            4.      As a result of the carelessness and negligence of the defendant, plaintiff GEORGE

                    ENGLE, was caused to sustain severe injuries, both temporary and permanent in

                    nature, together with great pain and suffering as well as serious economic loss, and

                    was prevented from transacting lawful business and affairs and had to expend sums

                    for medical expenses, all of which are expected to continue into the future.

            WHEREFORE, Plaintiffs demand judgment against the Defendant for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                            EIGHTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Seventh Counts as if

                    set forth at length herein.

            2.      At the aforesaid time and place, the defendants, RAUL PEREA-HENZE was

                    operating a motor vehicle traveling New Jersey Turnpike, in the City of Newark,

                    County of Essex and State of New Jersey

            3.      At the aforesaid time and place, the defendant, RAUL PEREA-HENZE did operate

                    said motor vehicle in such a careless and negligent manner so as to cause a collision

                    involving the motor vehicle operated by plaintiff GEORGE ENGLE.

            4.      As a result of the carelessness and negligence of the defendant, plaintiff GEORGE

                    ENGLE, was caused to sustain severe injuries, both temporary and permanent in

                    nature, together with great pain and suffering as well as serious economic loss, and

                    was prevented from transacting lawful business and affairs and had to expend sums
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                    for medical expenses, all of which are expected to continue into the future.

            WHEREFORE, Plaintiffs demand judgment against the Defendant for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                              NINTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Eighth Counts as if set

                    forth at length herein.

            2.      On or about July 15, 2008, plaintiff GEORGE ENGLE was operating a motor vehicle

                    which was lawfully traveling on New Jersey Turnpike near Interstate 14C, in the City

                    of Jersey City, County of Hudson, and State of New Jersey.

            3.      At the aforesaid time and place, the defendant, KEITH GORDON was operating a

                    motor vehicle traveling on the New Jersey Turnpike near Interstate 14C, in the City

                    of Jersey City, County of Hudson, and State of New Jersey.

            4.      At the aforesaid time and place, the defendant, KEITH GORDON, did operate said

                    motor vehicle in such a careless and negligent manner so as to cause a collision with

                    the motor vehicle operated by plaintiff GEORGE ENGLE.

            5.      As a result of the carelessness and negligence of the defendant, plaintiff GEORGE

                    ENGLE, was caused to sustain severe injuries, both temporary and permanent in

                    nature, together with great pain and suffering as well as serious economic loss, and

                    was prevented from transacting lawful business and affairs and had to expend sums

                    for medical expenses, all of which are expected to continue into the future.

            WHEREFORE, Plaintiffs demand judgment against the Defendant for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.
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                                               TENTH COUNT

     1.     Plaintiff repeats each and every allegation of the First through Ninth Counts as if set forth

            at length herein.

            2.      At the time and place aforesaid, defendants UNITED STATES DEPARTMENT OF

                    HEALTH AND HUMAN SERVICES; UNITED STATES OF AMERICA; JOHN

                    DOE (1-5) (fictitious names, true names unknown at this time); ABC COMPANY

                    (1-5) (fictitious names, true names unknown at this time) were responsible for the

                    ownership, maintenance service, repair and/or inspection of the vehicle operated by

                    defendant, KEITH GORDON.

            3.      At all times relevant hereto, defendants, UNITED STATES DEPARTMENT OF

                    HEALTH AND HUMAN SERVICES; UNITED STATES OF AMERICA; JOHN

                    DOE (1-5) (fictitious names, true names unknown at this time); ABC COMPANY

                    (1-5) (fictitious names, true names unknown at this time) so carelessly and

                    negligently owned, maintained, serviced, repaired and/or inspected the vehicle

                    operated by defendant, KEITH GORDON. as to cause or allow the accident to

                    happen.

            WHEREFORE, Plaintiffs demand judgment against the Defendants for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                              ELEVENTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Tenth Counts as if set

                    forth at length herein.

            2.      At the time and place aforesaid, defendant, KEITH GORDON was acting as the

                    agent and/or servant and/or employee and/or lessee and/or otherwise on behalf of
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                    defendant(s) UNITED STATES DEPARTMENT OF HEALTH AND HUMAN

                    SERVICES; UNITED STATES OF AMERICA; JOHN DOE (6-10) (fictitious

                    names, true names unknown at this time); ABC COMPANY (6-10) (fictitious names,

                    true names unknown at this time); and therefore, defendants UNITED STATES

                    DEPARTMENT OF HEALTH AND HUMAN SERVICES; UNITED STATES OF

                    AMERICA; JOHN DOE; JOHN DOE (6-10) (fictitious names, true names unknown

                    at this time); ABC COMPANY (6-10) (fictitious names, true names unknown at this

                    time) are responsible for the negligence of defendant, KEITH GORDON.

            WHEREFORE, Plaintiffs demand judgment against the Defendants for damages, interest,

     costs of suit and such other relief as this Court may deem just and equitable.

                                            TWELFTH COUNT

            1.      Plaintiff repeats each and every allegation of the First through Eleventh Counts as if

                    set forth at length herein.

            2       At the aforesaid times and places, plaintiff MARION ENGLE was the spouse of

                    plaintiff GEORGE ENGLE and as such was responsible for the debts, care and

                    maintenance and entitled to the services, consortium and society of said spouse.

            3.      As a direct and proximate result of the negligence and carelessness of the defendant,

                    the plaintiff has been caused great expense, loss and trouble and has been deprived

                    of the services, society and consortium of plaintiff's spouse and has been required to

                    expend sums of money for medical care, etc., all of which are expected to continue

                    into the future.
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              WHEREFORE, Plaintiffs demand judgment against the Defendants for damages, interest,

      costs of suit and such other relief as this Court may deem just and equitable.



                                                     s/ Michael P. Cahill
      Dated: September 28, 2009                      MICHAEL P. CAHILL, ESQUIRE



                                                JURY DEMAND

              PLEASE TAKE NOTICE that the Plaintiffs demand a trial by jury.



                                                     s/ Michael P. Cahill
      Dated: September 28, 2009                      MICHAEL P. CAHILL, ESQUIRE




                                               CERTIFICATION

              The matter in controversy involved in this action is not the subject of any other action

      pending in any Court, nor of any pending arbitration proceeding and no other action or arbitration

      proceeding is contemplated by my client. No parties other than those named herein should be joined

      in this action.

              I hereby certify that the foregoing is true to the best of my knowledge, information and belief.




                                                     s/ Michael P. Cahill
      Dated: September 28, 2009                      MICHAEL P. CAHILL, ESQUIRE
